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                            UNITED STATES DISTRICT COURT
                           'SOUTHERN DISTRICT OF NEW YORK
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                           UNITED STATES OF AMERICA
                                                                                INDICTMENT
                                             -v-
                                                                                S2 12 Cr. 1144 (BSJ)
                   c~0     BERNARD J. EBBERS and
                   {,~1)   SCOTT D SULLIVAN I

                                                                                                                      f
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                                                                                                                       '




                                                         Defendants.

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                                                                 COUNT ONE      j
                                                   (Conspiracy To Commit Secu       ties Fraud)

                                          The Grand Jury charges:

                                                       RELEVANT PERSONS AND ENTITIES
                                                                                                                 I
                                          1.        At all times relevant to this Indictment,

                           WorldCom, Inc.            ("WorldCom") was a corporation organized under the

                           laws of the State of Georgia with its headquarters in Clinton,

                           Mississippi.

                                          2.       At all times relevant to this Indictment,

                           WorldCom's common stock was listed under the symbol "WCOM" on the

                           NASDAQ National Market System, an electronic securities market
   ==
:EgJ                       system.       As of May 31, 2002, WorldCom's largest institutional
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II..
              •            shareholders included Bernstein Investment Research and

                           Management, Oppenheimer Capital, Merrill Lynch Investment
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0:::       ~
                           Managers, and College Retirement Equities Fund, all of which
0~                         maintained offices in New York, New York.
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          3.   At all times relevant to this Indictment, BERNARD

J. EBBERS, the defendant, served as Chief Executive Officer,

President, and a director of WorldCom.        At all times relevant to

this Indictment, EBBERS signed the Annual Reports on Form 10-K

that WorldCom filed with the United States Securities and

Exchange Commission (the "SEC").        At all times relevant to this

Indictment, EBBERS owned millions of shares, and options to

purchase shares, of WorldCom common stock.

          4.   At various times relevant to this Indictment,

SCOTT D. SULLIVAN, the defendant, served as Chief Financial

Officer, Treasurer, and Secretary of WorldCom.        At all times

relevant to this Indictment, SULLIVAN directed the preparation of

and signed the Annual Reports on Form 10-K and Quarterly Reports

on Form 10-Q that WorldCom filed with the SEC.

                              BACKGROUND

                         WorldCom's Business

          5.    At all times relevant to this Indictment, WorldCom

provided to businesses and consumers around the world a broad

range of communications services, including, among other things,

data transmission services, Internet-related services, commercial

voice services, international communication services, long

distance service, and other telecommunication services.          WorldCom

owned and operated extensive global network facilities, which

spanned six continents, reached every major city center in the


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world, and connected more than 60,000 buildings.        WorldCom's

global network included more than 90,000 route miles of

terrestrial and undersea fiber-optic cable.        This network was

designed to support the largest array of data communication

products and services in the world.

          6.   At all times relevant to this Indictment, to serve

customers that were not directly connected to its network,

WorldCom paid fees to use or lease facilities and connections

from other telecommunication companies.       These fees, known as

"line costs," were WorldCom's largest expense.

       WorldCom's Communications With The Investing Public

          7.   At all times relevant to this Indictment, BERNARD

J. EBBERS and SCOTT D. SULLIVAN, on behalf of WorldCom, provided

members of the investing public with information concerning

WorldCom's financial results and operating performance.          EBBERS

and SULLIVAN provided such information through various methods,

including in WorldCom's public filings with the SEC, in periodic

news releases and other corporate announcements, in statements

made in conference calls with professional securities analysts

and investors, and in meetings and conferences held with analysts

and investors in New York, New York and elsewhere.         Members of

the investing public considered and relied upon the information

provided by EBBERS and SULLIVAN in deciding whether to purchase,

hold, or sell WorldCom securities.


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          8.     Part of the information routinely provided by

BERNARD J. EBBERS and SCOTT D. SULLIVAN to members of the

investing public was so-called "guidance" concerning WorldCom's

operational and financial results for upcoming reporting periods.

The "guidance" provided by EBBERS and SULLIVAN concerned various

measures of WorldCom's operational and financial performance,

including its expected cash earnings per share ("EPS"),         "Earnings

Before Interest, Taxes, Depreciation, and Amortization"

("EBITDA"), net income, expenses, revenue growth, and capital

expenditures.

          9.     At all times relevant to this Indictment, numerous

securities analysts and investors relied on the "guidance"

provided by BERNARD J. EBBERS and SCOTT D. SULLIVAN to gauge

WorldCom's performance, to predict WorldCom's expected earnings,

and to disseminate estimates of WorldCom's expected performance

to the larger investing public.      Members of the investing public

closely followed such "earnings estimates" or "analysts'

expectations" because, historically, when company earnings fail

to meet such estimates, company stock prices typically decline,

and when company earnings exceed such estimates, company stock

prices typically rise.

                WorldCom's Financial Reporting Process

          10.    At all times relevant to this Indictment, at the

close of each month and each quarter of WorldCom's fiscal year,


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employees in WorldCom's financial and accounting departments

collected and summarized information reflecting WorldCom's

operating performance and financial results for the particular

period in question.    This information was reflected in various

financial statements and reports.

          11.   At all times relevant to this Indictment, WorldCom

tracked its revenue on a monthly basis through the use of a

report referred to internally as "MonRev."        BERNARD J. EBBERS

designed MonRev to allow himself, SCOTT D. SULLIVAN, and other

WorldCom officers to review the revenue generated by each of

WorldCom's sales channels, including "Major Nationals,"

"Wholesale," "Global," "Mass Markets," "International," and

"Specialized Sales."    Revenue that was not generated through

these sales channels was tracked separately and classified in

MonRev as "Corporate Unallocated."       Members of WorldCom's Revenue

Accounting Department prepared MonRev each month and provided it

to EBBERS, SULLIVAN, and others.        EBBERS carefully scrutinized

every MonRev report.    Unlike all other recipients of MonRev,

EBBERS demanded that his copy be printed on a special "green-bar"

computer paper to facilitate his review.        EBBERS and SULLIVAN

regularly met to discuss the results reported in MonRev.

          12.   At all times relevant to this Indictment, WorldCom

tracked its Selling, General, and Administrative expenses

("SG&A") on a monthly and quarterly basis through its "Management


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Budget Variance Report."     Members of WorldCom's General

Accounting Department prepared the Management Budget Variance

Report each month and provided it to BERNARD J. EBBERS, SCOTT D.

SULLIVAN, and others.     EBBERS and SULLIVAN regularly met to

discuss the results reported in the Management Budget Variance
Report.

          13.   At all times relevant to this Indictment, WorldCom

tracked expenses relating to its line costs on a quarterly basis

through the preparation of a preliminary income statement.

Members of WorldCom's General Accounting Department prepared a

preliminary income statement each quarter and provided it to

SCOTT D. SULLIVAN and others.      SULLIVAN, in turn, provided these

preliminary income statements to BERNARD J. EBBERS.         At the close

of each financial reporting period, EBBERS and SULLIVAN met to

discuss WorldCom's preliminary operating results, including

WorldCom's line cost expenses.

          14.   At all times relevant to this Indictment,

WorldCom's senior management participated in periodic meetings to

discuss expectations regarding WorldCom's operating results for

the upcoming months.    In connection with these so-called

"Outlook" meetings, BERNARD J. EBBERS and SCOTT D. SULLIVAN,

among others, reviewed documents that summarized anticipated

events that would affect WorldCom's revenues in the following

months.   EBBERS and SULLIVAN regularly met to discuss the


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financial results and projections reflected in the various

documents presented during the "Outlook" meetings.

                        THE SCHEME TO DEFRAUD

                              Introduction

           15.   As set forth more fully below, from in or about

September 2000 through in or about June 2002, BERNARD J. EBBERS,

SCOTT D. SULLIVAN, and their co-conspirators engaged in an

illegal scheme to deceive members of the investing public,

WorldCom shareholders, securities analysts, the SEC, and others,

concerning WorldCom's true operating performance and financial

results.

           16.   As BERNARD J. EBBERS, SCOTT D. SULLIVAN, and their

co-conspirators knew, by no later than in or about September

2000, WorldCom's true operating performance and financial results

were in decline and had fallen materially below analysts'

expectations.    EBBERS nevertheless insisted that WorldCom

publicly report financial results that met analysts'

expectations.    As a result, rather than disclosing WorldCom's

true condition and suffer the ensuing decline in the price of

WorldCom's common stock, SULLIVAN, with EBBERS's knowledge and

approval, directed co-conspirators to make false and fraudulent

adjustments to WorldCom's books and records.

           17.   Thereafter, from in or about September 2000

through in or about June 2002, for the purpose of disguising


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WorldCom's true operating performance and financial results,

EBBERS, SULLIVAN, and their co-conspirators caused WorldCom's

reported figures for revenue, SG&A and line cost expenses,

EBITDA, depreciation expense, net income, and EPS to be falsely

and fraudulently manipulated.      As EBBERS, SULLIVAN, and their co-

conspirators knew, the aggregate effect of these adjustments,

which were made in round-dollar amounts and consistently totaled

hundreds of millions of dollars per quarter, was to present a

materially false and misleading picture of WorldCom's true

operating performance and financial results.

          18.   From in or about September 2000 through in or

about June 2002, in furtherance of the scheme, BERNARD J. EBBERS,

SCOTT D. SULLIVAN, and their co-conspirators made repeated public

statements in which they (a) falsely described WorldCom's

operating performance and financial results,        (b) omitted to

disclose material facts necessary to make the statements that

they made about WorldCom's operating performance and financial

results complete, accurate, and not misleading, and (c) caused

WorldCom to file financial statements with the SEC that presented

a materially false and misleading description of WorldCom's

operating performance and financial results.        Through this

scheme, EBBERS, SULLIVAN, and their co-conspirators inflated and

maintained artificially the price of WorldCom common stock.




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           19.    On or about June 25, 2002, WorldCom announced

that, as a result of an internal investigation, it would have to

issue restated financial statements.       In the days following this

announcement, the price of WorldCom's common stock plummeted more

than 90%, resulting in an aggregate decline in shareholder value

of more than $2 billion.

   The Fraudulent Adjustments To WorldCom's Books And Records

          20.     In or about September 2000, after reviewing MonRev

and other documents summarizing WorldCom's financial results and

operating performance for July and August 2000, SCOTT D. SULLIVAN

advised BERNARD J. EBBERS that WorldCom's operating performance

and financial results had deteriorated, and that WorldCom's

earnings for the upcoming reporting period would not meet

analysts' expectations.     SULLIVAN further advised EBBERS that

WorldCom should issue an "earnings warning" to alert the

investing public about WorldCom's deteriorating financial

performance.     EBBERS refused to issue an earnings warning.

Instead, EBBERS and SULLIVAN agreed to take steps to conceal

WorldCom's true financial condition and operating performance

from the investing public.

          21.     In or about October 2000, rather than disclosing

WorldCom's true financial condition and operating performance,

BERNARD J. EBBERS and SCOTT D. SULLIVAN instructed subordinates,

in substance and in part, to falsely and fraudulently book


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certain entries in WorldCom's general ledger, which were designed

to increase artificially WorldCom's reported revenue and to

decrease artificially WorldCom's reported expenses, resulting in,

among other things, artificially-inflated figures for WorldCom's

EPS, EBITDA, and revenue growth rate.       The adjustments included

(a) reductions made to line cost expense accounts by debiting

certain reserve and liability accounts, which reductions lacked

any business justification or supporting documentation, and (b)

increases to revenue, which in light of their departure from

prior revenue recognition policies, and in light of their

aggregate amount, made WorldCom's reported revenue materially

misleading.     EBBERS and SULLIVAN instructed others to make these

adjustments solely in an effort to report results that would

satisfy analysts' expectations, even though EBBERS and SULLIVAN

knew that WorldCom's true results in fact failed to meet those

expectations.

          22.     In or about January 2001, BERNARD J. EBBERS and

SCOTT D. SULLIVAN again determined that WorldCom's financial

results for the fourth quarter of 2000 would not meet analysts'

expectations.     Rather than disclose WorldCom's true financial

condition and operating performance, in or about February 2001,

EBBERS and SULLIVAN instructed subordinates, in substance and in

part, to falsely and fraudulently book certain entries in

WorldCom's general ledger, which were designed to increase


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artificially WorldCom's reported revenue and to decrease

artificially WorldCom's reported expenses, resulting in, among

other things, artificially-inflated figures for WorldCom's EPS,

EBITDA, and revenue growth rate.        These adjustments included (a)

reductions made to line cost expense accounts by debiting certain

reserve and liability accounts, which lacked any business

justification or supporting documentation, and (b) increases to

revenue, which in light of their departure from prior revenue

recognition policies, and in light of their aggregate amount,

made WorldCom's reported revenue materially misleading.          EBBERS

and SULLIVAN instructed others to make these adjustments solely

in an effort to report results that would satisfy analysts'

expectations, even though EBBERS and SULLIVAN knew that

WorldCom's true results in fact failed to meet those

expectations.

          23.   In or about March 2001, BERNARD J. EBBERS and

SCOTT D. SULLIVAN determined that WorldCom's financial results

for the first quarter of 2001 would not meet analysts'

expectations.   SULLIVAN advised EBBERS, in substance and in part,

that members of WorldCom's General Accounting Department could no

longer reduce line cost expense accounts by debiting certain

reserve and liability accounts, as they had done previously.

Instead, SULLIVAN advised EBBERS, in substance and in part, that

members of WorldCom's General Accounting Department would


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transfer line cost expenses to capital expenditure accounts.

SULLIVAN advised EBBERS, in substance and in part, that these

transfers were being made to keep WorldCom's expenses-to-revenue

ratio in line with figures reported in previous periods and in an

effort to meet analysts' expectations for WorldCom's net income,
EPS, and EBITDA.

          24.   In or about March 2001, SCOTT D. SULLIVAN

instructed members of the General Accounting Department to make

journal entries in WorldCom's general ledger, which resulted in

the transfer of hundreds of millions of dollars from line cost

expense accounts to capital expenditure accounts.         SULLIVAN's

instructions were communicated, and the journal entries affecting

the transfers were made, after WorldCom's field offices' books

were closed for the quarter.     EBBERS and SULLIVAN instructed

others to make these adjustments solely in an effort to satisfy

analysts' expectations, including those regarding WorldCom's net

income, EPS, and EBITDA, even though EBBERS and SULLIVAN knew

that WorldCom's true results in fact failed to meet those

expectations.   As described more fully below, SULLIVAN directed

similar line cost transfers in each of the quarters from March

2001 through March 2002, resulting in improper transfers totaling

approximately $3.8 billion.

          25.   In or about June 2001, BERNARD J. EBBERS and SCOTT

D. SULLIVAN determined that WorldCom's financial results for the


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second quarter of 2001 would not meet analysts' expectations.            In

or about July 2001, rather than disclose WorldCom's true

operating performance and financial condition, EBBERS and

SULLIVAN instructed subordinates, in substance and in part, to

falsely and fraudulently book certain entries in WorldCom's

general ledger, which were designed to increase artificially

WorldCom's reported revenue and to decrease artificially

WorldCom's reported expenses, resulting in, among other things,

artificially inflated figures for WorldCom's EPS, EBITDA, and

revenue growth rate.    These adjustments included (a) the improper

capitalization of line cost expenses, and (b)        increases to

revenue, which in light of their departure from prior revenue

recognition policies, and in light of their aggregate amount,

made WorldCom's reported revenue materially misleading.          With

respect to these revenue adjustments, WorldCom created a process,

referred to internally as "Close the Gap," designed solely to

identify adjustments that would increase reported revenue in an

effort to satisfy analysts' expectations.        EBBERS and SULLIVAN

both participated extensively in the "Close the Gap" process.

EBBERS and SULLIVAN instructed others to make these adjustments

solely in an effort to report results that would satisfy

analysts' expectations, even though EBBERS and SULLIVAN knew that

WorldCom's true results in fact failed to meet those

expectations.


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          26.     In or about September 2001, BERNARD J. EBBERS and

SCOTT D. SULLIVAN determined that WorldCom's financial results

for the third quarter of 2001 would not meet analysts'

expectations.     Rather than disclose WorldCom's true operating

performance and financial condition, in or about October 2001,

EBBERS and SULLIVAN instructed subordinates, in substance and in

part, to falsely and fraudulently book certain entries in

WorldCom's general ledger, which were designed to increase

artificially WorldCom's reported revenue and to decrease

artificially WorldCom's reported expenses, resulting in, among

other things, artificially inflated figures for WorldCom's EPS,

EBITDA, and revenue growth rate.         The adjustments included (a)

the improper capitalization of line cost expenses, and (b)

increases to revenue, which in light of their departure from

prior revenue recognition policies, and in light of their

aggregate amount, made WorldCom's reported revenue materially

misleading.     With regard to the revenue adjustments, EBBERS and

SULLIVAN, through the "Close the Gap" process, caused WorldCom to

report publicly revenue growth of approximately 12 percent, even

though WorldCom's true operating performance yielded revenue

growth of approximately 6 percent.         EBBERS and SULLIVAN

instructed others to make these adjustments solely in an effort

to report results that would satisfy analysts' expectations, even

though EBBERS and SULLIVAN knew that WorldCom's true results in


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fact failed to meet those expectations.

          27.      In or about January 2002, BERNARD J. EBBERS and

SCOTT D. SULLIVAN determined that WorldCom's financial results

for the fourth quarter of 2001 would not meet analysts'

expectations.     Rather than disclose WorldCom's true operating

performance and financial condition, in or about February 2002,

EBBERS and SULLIVAN instructed subordinates, in substance and in

part, to falsely and fraudulently book certain entries in

WorldCom's general ledger, which were designed to increase

artificially WorldCom's reported revenue and to decrease

artificially WorldCom's reported expenses, resulting in, among

other things, artificially inflated figures for WorldCom's EPS,

EBITDA, and revenue growth rate.         These adjustments included (a)

the improper capitalization of line cost expenses, and (b)

increases to revenue, which in light of their departure from

prior revenue recognition policies, and in light of their

aggregate amount, made WorldCom's reported revenue materially

misleading.      EBBERS and SULLIVAN instructed others to make these

adjustments solely in an effort to report results that would

satisfy analysts' expectations, even though EBBERS and SULLIVAN

knew that WorldCom's true results in fact failed to meet those

expectations.

           28.     In or about March 2002, BERNARD J. EBBERS and

SCOTT D. SULLIVAN determined that WorldCom's financial results


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for the first quarter of 2002 would not meet analysts'

expectations.     Rather than disclose WorldCom's true operating

performance and financial condition, in or about April 2002,

EBBERS and SULLIVAN instructed subordinates, in substance and in

part, to falsely and fraudulently book certain entries in

WorldCom's general ledger, which were designed to increase

artificially WorldCom's reported     revenue~and    to decrease

artificially WorldCom's reported expenses, resulting in, among

other things, artificially inflated figures for WorldCom's EPS,

EBITDA, and revenue growth rate.         These adjustments included (a)

the improper capitalization of line cost expenses, and (b)

increases to revenue, which in light of their departure from

prior revenue recognition policies, and in light of their

aggregate amount, made WorldCom's reported revenue materially

misleading.      EBBERS and SULLIVAN instructed others to make these

adjustments solely in an effort to report results that would

satisfy analysts' expectations, even though EBBERS and SULLIVAN

knew that WorldCom's true results in fact failed to meet those

expectations.

              False Statements And Misleading Omissions
                      In WorldCom's SEC Filings

           29.     To sell securities to members of the public and

maintain public trading of its securities in the United States,

WorldCom was required to comply with provisions of the federal

securities laws, including the Securities Exchange Act of 1934

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and regulations promulgated thereunder, that were designed to

ensure that the company's financial information was accurately

recorded and disclosed to the public.

           30.      Under these securities laws and regulations,

WorldCom was required to, among other things (a) file with the

SEC annual financial statements audited by an independent

accountant;   (b)    file with the SEC quarterly updates of its

financial statements that disclosed its financial condition and

the results of its business operations for each three-month

period;   (c) devise and maintain a system of internal accounting

controls sufficient to provide reasonable assurances that the

company's transactions were recorded as necessary to permit

preparation of financial statements in conformity with Generally

Accepted Accounting Principles and other applicable criteria; and

(d) make and keep books, records, and accounts that accurately

and fairly reflected the company's business transactions.

           31.      At all times relevant to this Indictment,

WorldCom's quarterly and annual financial statements were

transmitted to the New York, New York offices of Merrill

Communications LLC ("Merrill"), a filing agent that assisted

companies in electronically filing periodic reports with the SEC,

and were thereafter transmitted electronically by Merrill or a

Merrill subcontractor, located in New York, New York, to the SEC

for filing.


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          32.   The quarterly and annual reports filed by WorldCom

for the third quarter of 2000 through the first quarter of 2002

included financial statements that reflected the above-described

fraudulent adjustments to WorldCom's expenses and revenue, which

had been made solely in an effort to satisfy analysts'

expectations.

          33.   BERNARD J. EBBERS, SULLIVAN D. SULLIVAN, and their

co-conspirators failed to disclose in WorldCom's SEC filings, or

in any other public statement, the artificial adjustments to

WorldCom's expenses and revenue.        By directing these adjustments

to be made, and falsely concealing the adjustments from the SEC

and members of the investing public, EBBERS, SULLIVAN, and their

co-conspirators disguised WorldCom's true operating performance

and financial condition from the SEC and the investing public.

As a result, EBBERS, SULLIVAN, and their co-conspirators caused

WorldCom to report financial results, which, as EBBERS, SULLIVAN,

and their co-conspirators knew, exceeded by material amounts

WorldCom's actual financial results in each reported period.

            False Statements And Misleading Omissions
                 In WorldCom's Public Statements

          34.   In statements and presentations made on behalf of

WorldCom to members of the investing public, securities analysts,

and others, BERNARD J. EBBERS, SCOTT D. SULLIVAN, and their co-

conspirators falsely described WorldCom's true operating

performance and financial condition, and omitted to disclose

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facts necessary to make those statements complete, accurate, and

not misleading.        EBBERS and SULLIVAN (a) made statements about

WorldCom's operating performance and financial condition which,

as they knew, reflected the above-described fraudulent

adjustments to WorldCom's expenses and revenue, and (b) failed to

disclose that they had caused others to manipulate artificially

WorldCom's expenses and revenue in an effort to meet analysts'

expectations.

          35.     Following the close of each reporting period from

the third quarter of 2000 through the first quarter of 2002,

BERNARD J. EBBERS, SCOTT D. SULLIVAN, and their co-conspirators

made statements to the investing public, including on conference

calls held with analysts and investors.        In these statements,

EBBERS and SULLIVAN made materially false statements concerning

WorldCom's financial results and operating performance and

omitted to state facts necessary to make the statements that were

made complete, accurate, and not misleading.         Among the

materially false statements and misleading omissions made by

EBBERS and SULLIVAN were the following:

                  a.      On or about October 26, 2000, during a

conference call with analysts, EBBERS made the following

statement, which he knew was false:

           We are pleased with our industry-leading
           incremental revenue growth of $1.1 billion
           this quarter.  Commercial services revenues
           of $6.4 billion is up 19% year-over-year.

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          And while we continued to hit bumps in the
          road in the dial-up Internet business, we did
          produce good results in dedicated Internet
          and our consumer services businesses. All in
          all, this was a solid quarter for WorldCom.

               b.    On or about October 26, 2000, during a

conference call with analysts, SULLIVAN made the following

statement, which he knew was false:

          This was another solid quarter for WorldCom.
          Cash earnings per share increased 21% to
          $0.57 per share. Earnings per share
          increased 27% to $0.47 per share.

               c.    On or about February 8, 2001, during a

conference call with analysts, EBBERS made the following

statement, which he knew was false:

          On the WorldCom side of the business, we are
          sticking with our 12% to 15% revenue growth
          guidance for 2001. Let me restate that. On
          the WorldCom side of the business we are
          sticking with our 12% to 15% revenue guidance
          for 2001. That's the range of the average
          that we will achieve throughout the year, and
          we will be increasing that revenue growth
          rate between the first quarter and the end of
          the year.

               d.    On or about April 26, 2001, during a

conference call with analysts, EBBERS made the following

statement, which he knew was false:

          WorldCom is certainly not immune to the
          effects of the economy. We are being
          impacted like everyone else. But, with the
          visibility we have in our significant growth
          engines, we continue to have confidence in
          our ability to achieve our 12 to 15% 2001
          growth target on the WorldCom tracker. And I
          guess the thing that always frustrates me

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          when I hear people talk about visibility as
          it's kind of like landing a plane - how much
          visibility do you really have? And so I
          thought I would just compare it to a weather
          forecast and say that if we look out for the
          remainder of 2001, we do not see any storms
          on the horizon at this time.

               e.    On or about October 25, 2001, during a

conference call with analysts, SULLIVAN made the following

statement, which he knew was false:

          Let me reiterate the main points Bernie
          [EBBERS] made.  First, we reported a solid
          quarter of double-digit revenue growth in a
          challenging economic climate . . . . WorldCom
          Group posted 12% revenue growth in the third
          quarter, with Data & Internet growing at a
          combined rate of 22% this quarter. Data
          revenues were $2.3 billion and grew 18% in
          the third quarter.

                f.   On or about February 7, 2002, during a

television interview on a CNBC program, EBBERS made the following

statement, which he knew was false:

          The new day is that we're going, we have,
          finally this morning had a chance to put to
          rest all the rumors that have been
          circulating about us. None of which have
          been true. We have been a very sound
          financial company. We've been very
          conservative on our accounting practices and
          we wanted an opportunity for the last couple
          of weeks when we've seen this tremendous loss
          of market capitalization in our stock to be
          able to address the issues.

As EBBERS and SULLIVAN knew, these statements were materially

false and misleading when they were made, because WorldCom's true

financial condition and operating performance, including its


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revenue growth rate and EPS, were not as represented.

                             THE CONSPIRACY

           36.   From in or about September 2000 through in or

about June 2002, in the Southern District of New York and

elsewhere, BERNARD J. EBBERS, SCOTT D. SULLIVAN, the defendants,

and others known and unknown, unlawfully, willfully, and

knowingly did combine, conspire, confederate, and agree together

and with each other to commit offenses against the United States,

namely (a) to commit fraud in connection with the purchase and

sale of securities issued by WorldCom, in violation of Title 15,

United States Code, Sections 78j (b) and 78ff, and Title 17, Code

of Federal Regulations, Section 240.10b-5;        (b) to make and cause

to be made false and misleading statements of material fact in

applications, reports, and documents required to be filed under

the Securities Exchange Act of 1934 and the rules and regulations

thereunder, in violation of Title 15, United States Code,

Sections 78m(a) and 78ff; and (c) to falsify books, records, and

accounts of WorldCom, in violation of Title 15, United States

Code, Sections 78m(b) (2) (A), 78m(b) (5) and 78ff, and Title 17,

Code of Federal Regulations, Section 240.13b2-1.

                      Objects Of The Conspiracy

                    Fraud In Connection With The
                   Purchase And Sale Of Securities

           37.   It was a part and an object of the conspiracy that

BERNARD J. EBBERS, SCOTT D. SULLIVAN, the defendants, and others

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known and unknown, unlawfully, willfully, and knowingly, directly

and indirectly, by use of the means and instrumentalities of

interstate commerce, the mails, and the facilities of national

securities exchanges, would and did use and employ manipulative

and deceptive devices and contrivances in connection with the

purchase and sale of securities issued by WorldCom, in violation

of Title 17, Code of Federal Regulations, Section 240.10b-5, by

(a) employing devices, schemes, and artifices to defraud;          (b)

making and causing WorldCom to make untrue statements of material

facts and omitting to state material facts necessary in order to

make the statements made, in the light of the circumstances under

which they were made, not misleading; and (c) engaging in acts,

practices, and courses of business which operated and would

operate as a fraud and deceit upon the purchasers and sellers of

WorldCom securities, in violation of Title 15, United States

Code, Sections 78j (b) and 78ff.

                         False Statements In
                  Annual And Quarterly SEC Reports

          38.   It was further a part and an object of the

conspiracy that BERNARD J. EBBERS, SCOTT D. SULLIVAN, the

defendants, and others known and unknown, unlawfully, willfully,

and knowingly, in applications, reports, and documents required

to be filed under the Securities Exchange Act of 1934 and the

rules and regulations thereunder, would and did make and cause to
be made statements that were false and misleading with respect to

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material facts,    in violation of Title 15, United States Code,

Sections 78m(a) and 78ff.

                        False Books And Records

          39.     It was further a part and an object of the

conspiracy that BERNARD J. EBBERS, SCOTT D. SULLIVAN, the

defendants, and others known and unknown, unlawfully, willfully,

and knowingly would and did, directly and indirectly, falsify and

cause to be falsified books, records, and accounts subject to

Section 13(b) (2) of the Securities Exchange Act of 1934, namely

books, records, and accounts of WorldCom, an issuer with a class

of securities registered pursuant to the Securities Exchange Act

of 1934, which WorldCom was required to make and keep in

reasonable detail, accurately and fairly reflecting the

transactions and dispositions of the assets of WorldCom, in

violation of Title 15, United States Code, Sections 78m(b) (2) (A),

78m(b) (5) and 78ff, and Title 17, Code of Federal Regulations,

Section 240.13b2-1.

                  Means And Methods Of The Conspiracy

           40.    Among the means and methods by which BERNARD J.

EBBERS, SCOTT D. SULLIVAN, and their co-conspirators would and

did carry out the conspiracy were the following:

                  a.   EBBERS and SULLIVAN directed members of

WorldCom's Revenue Accounting Department to book entries that

increased revenue, solely in an effort to satisfy analysts'


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expectations, thereby causing, among other things, figures for

WorldCom's publicly reported EPS, EBITDA, revenue growth rate,

and net income to be false and materially misleading.

               b.    With EBBERS's knowledge and approval,

SULLIVAN directed members of WorldCom's General Accounting

Department to book entries that reduced liability and reserve

accounts without supporting documentation or proper business

rationale, thereby falsely inflating, among other things, figures

for WorldCom's publicly reported EPS, EBITDA and net income.

               c.    With EBBERS's knowledge and approval,

SULLIVAN directed members of WorldCom's General Accounting

Department to transfer expenses from line cost accounts to

capital expenditure accounts without business justification or

supporting documentation, thereby falsely inflating, among other

things, figures for WorldCom's publicly reported EPS, EBITDA, net

income, and current assets.

               d.    EBBERS, SULLIVAN, and their co-conspirators

caused WorldCom to file publicly with the SEC quarterly and

annual reports that materially misstated, among other things,

figures for WorldCom's EPS, EBITDA, net income, assets, and

liabilities.

               e.    EBBERS, SULLIVAN, and their co-conspirators

provided false and misleading financial information to the

investing public and analysts.



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                               Overt Acts

          41.   In furtherance of the conspiracy and to effect its

illegal objects, BERNARD J. EBBERS, SCOTT D. SULLIVAN and their

co-conspirators, committed the following overt acts, among

others, in the Southern District of New York and elsewhere:

                a.     In or about October 2000, EBBERS and SULLIVAN

discussed WorldCom's deteriorating financial health and poor

operating performance, and the improper adjustments required to

meet analysts' expectations.

                b.    On or about October 26, 2000, EBBERS and

SULLIVAN provided false and misleading financial information to

securities analysts and the investing public.

                c.    On or about November 14, 2000, SULLIVAN signed

WorldCom's Quarterly Report on Form 10-Q for the Quarter Ending

September 30, 2000.

                d.     In or about March 2001, EBBERS and SULLIVAN

discussed WorldCom's deteriorating financial health and poor

operating performance, and agreed to capitalize line costs solely

in an effort to satisfy analysts' expectations for WorldCom's

EPS, EBITDA, and net income.

                 e.   In or about April 2001, with EBBERS's

knowledge and approval, SULLIVAN directed members of WorldCom's

General Accounting Department to transfer approximately $771




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million in line cost expenses to capital accounts in WorldCom's

general ledger.

                  f.   On or about April 26, 2001, EBBERS and

SULLIVAN provided false and misleading financial information to

securities analysts and the investing public.

                  g.   On or about June 19, 2001, SULLIVAN left a

voicemail message for EBBERS which stated, in part:

          This MonRev just keeps getting worse and
          worse.   The copy, the latest copy that you
          and I have already has accounting fluff in it
               . all one time stuff or junk that's
          already in the numbers. With the numbers
          being, you know, off as far as they were, I
          didn't think that this stuff was already in
          there.

                  h.   In or about July 2001, with EBBERS's knowledge

and approval, SULLIVAN directed members of the General Accounting

Department to transfer approximately $560 million in line cost

expenses to capital accounts in WorldCom's general ledger.

                  i.   On or about July 10, 2001, EBBERS sent a

memorandum to a senior WorldCom officer requesting information

concerning "those one time events that had to happen in order for

us to have a chance to make our numbers."

                  j.   In or about October 2001, with EBBERS's

knowledge and approval, SULLIVAN directed members of WorldCom's

General Accounting Department to transfer approximately $743

million in line cost expenses to capital accounts in WorldCom's

general ledger.

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                  k.   On or about October 25, 2001, EBBERS and

SULLIVAN provided false and misleading financial information to

securities analysts and the investing public.

                  l.   In or about February 2002, with EBBERS's

knowledge and approval, SULLIVAN directed members of WorldCom's

General Accounting Department to transfer approximately $941

million in line cost expenses to capital accounts in WorldCom's

general ledger.

                  m.   On or about February 7, 2002, EBBERS and

SULLIVAN provided false and misleading financial information to

securities analysts and the investing public.

                  n.   On or about March 13, 2002, EBBERS and

SULLIVAN signed WorldCom's Annual Report on Form 10-K for the

Year Ending December 31, 2001.

                  o.   On or about March 13, 2002, EBBERS and

SULLIVAN caused WorldCom's Annual Report on Form 10-K for the

Year Ending December 31, 2001 to be filed with the SEC from New

York, New York.

                  p.   In or about April 2002, with EBBERS's

knowledge and approval, SULLIVAN directed members of WorldCom's

General Accounting Department to transfer approximately $818

million in line cost expenses to capital accounts in WorldCom's

general ledger.




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                q.   On or about April 25, 2002, EBBERS and

SULLIVAN provided false and misleading financial information to

securities analysts and the investing public.

           (Title 18, United States Code, Section 371.)

                              COUNT TWO

                          (Securities Fraud}

          The Grand Jury further charges:

          42.   The allegations contained in paragraphs 1 through

35 and paragraphs 40 and 41 of this Indictment are repeated and

realleged as if fully set forth herein.

          43.   From in or about September 2000 up to and

including in or about June 2002, in the Southern District of New

York and elsewhere, BERNARD J. EBBERS and SCOTT D. SULLIVAN, the

defendants, unlawfully, willfully and knowingly, directly and

indirectly, by the use of means and instrumentalities of

interstate commerce, and of the mails, and of facilities of

national securities exchanges, in connection with the purchase

and sale of securities, used and employed manipulative.and

deceptive devices and contrivances in violation of Title 17, Code

of Federal Regulations, Section 240.10b-5 by (a) employing

devices, schemes and artifices to defraud;       (b) making untrue

statements of material fact and omitting to state material facts

necessary in order to make the statements made, in the light of

the circumstances under which they were made, not misleading; and


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(c) engaging in acts, practices and courses of business which

operated and would operate as a fraud and deceit upon purchasers

and sellers of WorldCom securities.

    (Title 15, United States Code, Sections 78j (b) and 78ff;
   Title 17, Code of Federal Regulations, Section 240.10b-5;
            Title 18, United States Code, Section 2.)

                             COUNT THREE

                    (False Filing With The SEC)

          The Grand Jury further charges:

          44.   The allegations contained in paragraphs 1 through

35 and paragraphs 40 and 41 of this Indictment are repeated and

realleged as if fully set forth herein.

          45.   On or about November 14, 2000, in the Southern

District of New York and elsewhere, BERNARD J. EBBERS and SCOTT

D. SULLIVAN, the defendants, unlawfully, willfully, and

knowingly, made and caused to be made statements in reports and

documents required to be filed with the SEC under the Securities

Exchange Act of 1934 and the rules and regulations promulgated

thereunder, which statements were false and misleading with

respect to material facts, to wit, WorldCom's Quarterly Report on




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Form 10-Q for the Quarter Ending September 30, 2000, which

contained false statements as described above.

   (Title 15, United States Code, Sections 78m(a) and 78ff;
   Title 17, Code of Federal Regulations, Section 240.13a-l;
         and Title 18, United States Code, Section 2.)




~r                                             ~~·~
                                             DAVID N. KELL~
                                             United States Attorney




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                      Form No. USA-33s-274                  (Ed. 9-25-58)


                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK



                  UNITED STATES OF AMERICA

                                          - v -

                  BERNARD J. EBBERS and
                  SCOTT D. SULLIVAN,

                                                  Defendants.



                                                  INDICTMENT

                                          S2 02 Cr. 1144 (BSJ)

                  (Title 18, United States Code, Sections
                  371 & 2; Title 15, United States Code,
                  Sections 78j (b), 78m(a), 78ff.)




                                                             DAVID N. KELLEY
                                                     United States Attorney.




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